    Case 6:23-cv-00252-ADA-DTG          Document 70      Filed 03/13/25    Page 1 of 2




                            IN THE UNITED STATES DISTRICT
                           COURT FOR THE WESTERN DISTRICT
                                OF TEXAS WACO DIVISION

SBI CRYPTO CO., LTD.,

      Plaintiff,

              v.                             Civil Action No.: 6:23-cv-252-ADA-DTG

WHINSTONE US, INC.,

      Defendant.

                                         ORDER

       On March 5, 2025, the Court held a Discovery Hearing [Dkt. 69] arising from a

dispute in which Plaintiff SBI Crypto Co., Ltd. (“SBI”) sought the production of certain

documents from Defendant Whinstone US, Inc. (“Whinstone”) and Non-Party Riot

Platforms, Inc. (“Riot”). Having considered the filings and arguments of counsel,

Plaintiff’s Request is GRANTED IN PART AND DENIED IN PART.

       The Court ORDERS Riot to produce non-privileged documents in response to

Request Nos. 27, 31, 35, and 36 (i) relating or referring to the conditions of Building B or

(ii) relating or referring to SBI between the date Riot began negotiating the purchase of

Whinstone from Northern Data AG (September 2020) and May 26, 2021. Riot is

ORDERED to produce all documents and materials responsive to these requests on or

before March 26, 2025.

       The Court DENIES SBI’s request for relief as to SBI’s Requests for Production to

Whinstone Nos. 83, 85, 86, and 97, and SBI’s Requests to Riot Nos. 26, 28, 29, 30, 32,

33, 34, 37, and 38.
   Case 6:23-cv-00252-ADA-DTG          Document 70   Filed 03/13/25   Page 2 of 2




SIGNED this 13th day of March, 2025.




                               DEREK T. GILLILAND
                               UNITED STATES MAGISTRATE JUDGE
